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                         IWU BRIDGE FINANCING OF OLÉ HOLDINGS

February 3, 2022



Dr. David Wright, President Indiana Wesleyan University
Cc: Nancy Schoonmaker, Executive Vice President and CFO
Indiana Wesleyan University
4201 S Washington St,
Marion, IN 46953


Dear David and Nancy,

Olé Holdings continues to be committed to IWU and repaying IWU for the bridge financing of one million six
hundred and fifty thousand dollars from August 2020 through January 2021.

Ethiopia Update. Ethiopia has gone through an unprecedented year of war, elections, and other hardships that
have delayed our plans. Now that the war is in a cease-fire, the government has reaffirmed its urgency to get
started. This past week, the Ministry of Finance and the Ministry of Education met three times and indicated
that they are ready to proceed.

The Ethiopia project is the best solution and source for Olé Holdings to pay off the bridge loan fully, but we
have also considered the following list of resolutions:

    1. Ethiopia Signing. We will immediately start paying down the loan as funds ($2M) come in upon signing.
       We expect to pay 250K upon signing of the contract. Other sources should allow us to pay off the
       remainder within a few months as the remainder of the funding will come in for the 250m ten-year
       contract.
    2. Other ESP Projects. We can begin paying down the loan as we sign other ESP projects. We expect that
       this might be the case by April this year.
    3. Finally, IWU may be interested in entering an equity stake discussion with Olé Holdings in exchange for
       settling some or all the outstanding loan.

As I write this letter, I have received a note from Dr. Samuel, whom you met on zoom six months ago, that we
should join him on a call tomorrow. We believe that settling this matter with you is imminent, but we are, in
any case planning on paying down the loan as soon as funds come in from these other sources. My desire is
not only to pay off the debt, but to begin working with the National & Global team to build a business model to
serve Ethiopia. To accomplish this, some of the funds from the Ethiopia project will be used to get this work
underway.

Finally, as you may have heard, we are working with a foundation to fund a seminary version of ESP that will
enable more than 1200 seminaries around the world to go online. Wesleyan Seminary has been invited to be a
founding partner in the effort. This is significant in another way as well, our contract from 2020 calls for raising
funds to complete the ESP platform in order to bring IWU a worldwide reach. This project will in fact complete
the platform components contemplated in our agreement that will make this possible.

Blessings,

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